                          Case 3:15-cr-00319-RS Document 89-2 Filed 11/20/15 Page 1 of 1




                                                                                   IN	  THE	  UNITED	  STATES	  DISTRICT	  COURT	  
                                                                                 FOR	  THE	  NORTHERN	  DISTRICT	  OF	  CALIFORNIA	  
	  	  
	  UNITED	  STATES	  OF	  AMERICA	                                                                                                                                                                                                                                                                 	   	  	  	  	  	  	  :	  
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SHAUN	  BRIDGES	                                                                                                                                                                                                                                                                                                                     	  	  	  	  	  	  :	  
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                                                                                                                                                   [PROPOSED] ORDER

                                  Upon review of Defendant Shaun Bridges’ Motion for Noncustodial

Transportation (ECF No. ____), it is hereby ORDERED that:


                 1. The Motion for Noncustodial Transportation (ECF No. _____) is GRANTED.

                 2. The U.S. Marshal shall pay for and arrange for Defendant’s non-custodial

                                  transportation to Court. See 18 U.S.C. § 4285. See also United States v. Mendoza,

                                  734 F. Supp. 2d 281 (E.D.N.Y. 2010).




DATED this day of                                                                                                    , 2015.


                                                                                                                                                                                                            BY THE COURT:
